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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO
    PRECLUDE EVIDENCE CONCERNING (1) THE DOSSIER AS A WHOLE, AND (2)
               PLAINTIFFS’ EFFORTS TO OBTAIN PUBLICITY
            Defendants BuzzFeed, Inc. and Ben Smith respectfully submit this Opposition to
  Plaintiffs’ Motion In Limine No. 3.
                                     PRELIMINARY STATEMENT
            BuzzFeed published the Dossier because, as it said in the article that accompanied it,
  there was a compelling public interest in “publishing the full document so that Americans can
  make up their own minds about allegations about the president-elect that have circulated at the
  highest levels of the US government.” Ex. A (Compl.) Ex. 2 (Article). In other words, to use the
  language of Plaintiffs’ motion, BuzzFeed says that it published the Dossier because it believed
  there would be a “benefit to the public in having the Dossier as a whole in the public domain.”
  Dkt. 276 (“Mot.”) at 2. To the extent that Plaintiffs may be moving to bar BuzzFeed from
  explaining why it published the Dossier, that motion should be denied because such evidence is
  critical to the issue of fault in this case.
            Otherwise, Plaintiffs’ motion is far too vague for Defendants to even formulate a
  response, and the Court should deny it and take up any objections to specific evidence or lines of
  argument if they become an issue at trial. The same reasoning applies to the second part of this
  motion, which seeks to exclude evidence about Plaintiffs’ “general publicity efforts,” whatever
  that may mean. Defendants do not likely intend to put on evidence solely for purposes of



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  establishing “general publicity efforts,” but there are a variety of specific issues, including
  damages and/or material falsity, to which discrete pieces of evidence about public statements
  Plaintiffs made or actions they took to seek publicity will likely be relevant. Plaintiffs’ Motion
  In Limine No. 3 should therefore be denied, without prejudice to Plaintiffs’ right to object to any
  particular piece of evidence at trial.
                                              ARGUMENT
           A. This Court Should Not Exclude Evidence Concerning the Public Benefit of
              Publishing the Dossier as a Whole
           This Court should deny Plaintiffs’ motion because the evidence Plaintiffs seek to exclude
  concerning the public benefit of publishing the Dossier as a whole is plainly relevant to
  important issues before the Court and goes to the heart of Defendants’ justification for publishing
  the Dossier – a justification they have advanced since the moment they published the document.
           1. The Requested Relief is Too Vague to be Granted
           As an initial matter, it is not even clear what Plaintiffs are asking for with this motion,
  which is reason enough to deny it. See, e.g., Equity Lifestyle Props., Inc. v. Fla. Mowing &
  Landscape Serv., Inc., 2006 WL 1071997, at *2 (M.D. Fla. Apr. 24, 2006) (denying motion in
  limine where “[i]t is unclear … what evidence [the motion] refers to”); Weiss v. La Suisse,
  Société D’Assurances Sur La Vie, 293 F. Supp. 2d 397, 407 (S.D.N.Y. 2003) (noting that “[a]
  motion in limine may properly be denied where it is too sweeping in scope,” and denying motion
  that “lacks sufficient specificity with respect to the evidence to be excluded”). “Testimony and
  argument about the purported benefit in having the Dossier as a whole in the public domain,”
  Mot. at 2, is not exactly a self-defining category of evidence, and Plaintiffs point to no specific
  evidence or even prior testimony that falls into this category. For that reason alone, the motion
  should be denied.
           2.        The Motion Also Fails on Its Merits
           Plaintiffs concede that the Dossier as a whole is relevant to this case, acknowledging that,
  at a minimum, “it is certainly useful and necessary for the jury to have a basic understanding of
  the so-called ‘Dossier’ as a whole.” Id. at 2. Indeed, in their summary judgment arguments
  Plaintiffs pointed to other elements of the Dossier as supposed support for their arguments. See,
  e.g., Dkt. 234-1 (Pls.’ Opp. to Mot. for Summ. J.) at 17 (claiming that qualifications in article,
  and errors in other parts of Dossier, provide “direct evidence” of actual malice); id. at 19-20
  (arguing that redactions of allegations regarding Michael Cohen’s father-in-law from October 18

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  memo is evidence of actual malice). Plaintiffs did the same when seeking Christopher Steele’s
  testimony before the U.K. courts. Ex. B (Tr. of Feb. 8, 2018 hearing) at 53 (arguing that Steele’s
  evidence on the whole dossier would be relevant to substantial truth because “to undermine the
  credibility of ‘the dossier’ as a whole would go to undermine a part”).
           The “December memo” was not written as a standalone document, and it can therefore
  only be understood by reference to the rest of the Dossier. The “December memo” begins by
  explicitly referring back to two earlier parts of the Dossier that reported “on secret meeting/s
  held in in Prague, Czech Republic in August 2016 between then Republican presidential
  candidate Donald TRUMP’s representative, Michael COHEN and his interlocutors from the
  Kremlin,” and notes that its purpose is to “provide[] further details of these meeting/s and
  associated anti-CLINTON/Democratic Party operations” – including the fact that Cohen
  travelled to Prague in part to make “contingency plans for various scenarios to protect the
  operation” in which Plaintiffs were allegedly implicated. Ex. A (Compl.) Ex. 3 (Dossier) at 34-
  35. And the very sentence that follows the ones Plaintiffs allege are defamatory refers back to
  previous memos regarding Carter Page. Id. at 35.
            Nonetheless, while they do not appear to challenge the admissibility of the Dossier as a
  whole for other purposes, Plaintiffs seek to exclude “testimony and argument about the purported
  benefit in having the Dossier as a whole in the public domain.” Mot. at 2.1 Their motion should
  be denied because the evidence Plaintiffs seek to exclude is central to the element of fault in this
  case. Defendants did not publish the December memo or the four sentences about which
  Plaintiffs complain on their own. Instead, Defendants received the 35-page Dossier as single
  document and published it as a single document, even emphasizing in the accompanying article
  that they believed it was important to publish “the full document, so that Americans can make up
  their own minds ….” Ex. A (Compl.) Ex. 2 (Article) (emphasis added). Their decision is
  impossible to understand or examine without looking at the entire document that Defendants
  published.


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    To the extent that Plaintiffs instead seek to exclude all evidence concerning the Dossier as a
  whole, see Mot. at 3 (seeking order “limiting Defendants’ arguments and presentation of
  testimony regarding the so-called Dossier as a whole”), that request would be even more
  misplaced. The Dossier as a whole is relevant not only to the issues identified in this Opposition,
  but as Plaintiffs themselves recognize in their motion and argued before the U.K. court, it is
  relevant to other issues including defamatory meaning and material falsity as well.

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           If the fault standard in this case is actual malice, why Defendants published the Dossier in
  full is precisely the type of evidence the jury needs to see. Actual malice turns on the
  Defendants’ subjective mindset in publishing the allegedly defamatory statements. Turner v.
  Wells, 879 F.3d 1254, 1273 (11th Cir. 2018). But Plaintiffs’ motion seeks to preclude
  Defendants from explaining to the jury that they published the Dossier in its entirety, including
  the allegedly defamatory statements, because they thought that “the public had a right to see the
  specifics of these documents that were informing the action of their government at the highest
  levels.” Ex. C (Smith Decl.) ¶¶ 16, 23. And since Plaintiffs challenge the credibility of
  Defendants’ claims that they published out of a good-faith belief that doing so was in the public
  interest, Defendants are certainly entitled to substantiate their belief by pointing to the role the
  Dossier has come to play in public debate and government activity since they published it.
            And should the Court decide that Plaintiffs are private figures, evidence about the
  Dossier as a whole would be relevant to deciding whether they acted with gross irresponsibility
  or negligence. Indeed, the public interest in publishing the complete Dossier is an important,
  well-established consideration under either standard. The jury must look at “the nature of the
  interests that the defendant was seeking to promote by publishing the communication,” and
  “[i]nforming the public as to a matter of public concern is an important interest in democracy”
  that weighs heavily against a finding of gross irresponsibility or negligence. Restatement
  (Second) of Torts § 580B, cmt. h (discussing negligence standard);2 see also Konikoff v.
  Prudential Ins. Co. of Am., 234 F.3d 92, 103 (2d Cir. 2000) (holding that it was not grossly
  irresponsible for insurance company to publish investigative report without redactions because
  “Prudential’s censorship of the reports, even for the purpose of sparing the reputation of third
  parties, would have undermined its justifiable objective of baring all that the investigators had to
  say about the results of their inquiry”). Defendants are also entitled to point to the fact that, after
  they published the Dossier, many reputable news organizations linked to the document or
  analyzed its allegations in detail, see Dkt. 214-2 (Defs.’ Statement of Undisputed Material Facts)
  ¶ 64, which is a clear sign that BuzzFeed acted with “due consideration for the standards of
  information gathering and dissemination ordinarily followed by responsible parties,” Chapadeau



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   The Supreme Court of Florida cited Section 580B of the Restatement in Jews For Jesus, Inc. v.
  Rapp, 997 So. 2d 1098, 1106 (Fla. 2008).

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  v. Utica Observer-Dispatch, 38 N.Y.2d 196, 199 (1975), and was therefore neither grossly
  irresponsible nor negligent.
           Moreover, the theory of their case Plaintiffs have been articulating in their motions in
  limine is that it is about “whether publishing the December memo without redaction constituted
  defamation.” Mot. at 2 (emphasis added). Plaintiffs have never articulated what “redactions”
  they contend BuzzFeed should have made, but their theory seems to imply that BuzzFeed had
  some sort of affirmative duty to redact their names and/or other related information. As we have
  noted, a duty to selectively censor published material is not one that is recognized by defamation
  law, and that may need to be another issue the parties address either before or at trial.
           But if Plaintiffs are allowed to pursue that theory, Defendants will need to demonstrate
  that any argument to redact Plaintiffs from the “December memo” would likely have
  necessitated redacting numerous other persons and/or information as well throughout the
  Dossier. If so, then the published document would have been worthless, and unlikely to have
  served the public interest even today. Plaintiffs cannot have it both ways. They cannot argue
  that Defendants have some duty to selectively edit them out of the rest of the Dossier, and then
  try to preclude Defendants from explaining why doing so would have undermined the purpose of
  publishing the whole Dossier.
           Finally, this evidence is also relevant to Plaintiffs’ claim for punitive damages. Both
  New York and Florida law require that a plaintiff seeking punitive damages prove, along with
  actual malice, that the defendant acted with “common-law” or “express” malice, which is
  defined as spite or ill will towards the plaintiff. See, e.g., Prozeralik v. Capital Cities Commc’ns,
  Inc., 82 N.Y.2d 466, 480 (1993); Hunt v. Liberty Lobby, 720 F.2d 631, 650-51 & n.36 (11th Cir.
  1983). The plaintiff must prove that such animus was the “one and only cause for the
  publication” (under New York law), or the defendant’s “primary purpose” (under Florida law).
  Morsette v. “The Final Call,” 309 A.D.2d 249, 255 (N.Y. App. Div. 2003); Schiller v. Viacom,
  Inc., 2016 WL 9280239, at *12 (S.D. Fla. Apr. 4, 2016) (Ungaro, J.). Defendants are entitled to
  respond to Plaintiffs’ punitive damages claim with evidence that they published the Dossier for
  reasons that have nothing to do with any animus towards Plaintiffs.
           B. This Court Should Not Exclude Evidence of “Plaintiffs’ General Publicity
              Efforts”
           The second part of Plaintiffs’ motion, which halfheartedly asks the Court to exclude
  “evidence of Plaintiffs’ (largely unsuccessful) attempts to obtain general publicity for their

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  business offerings,” is even vaguer than the first part. Plaintiffs never identify any specific
  evidence (or even types of evidence) they believe should be excluded, and they never explain
  what they mean by “general publicity.” Because “[i]t is unclear…what evidence [the motion]
  refers to,” this part of the motion should also be denied. Equity Lifestyle Props., 2006 WL
  1071997, at *2.
           But it should also be denied because at least some of the evidence Plaintiffs likely
  consider “general publicity efforts” is relevant to other issues in the case. Assuming that the
  Court resolves the issue of Plaintiffs’ public-figure status in its summary judgment rulings,
  Defendants do not intend to introduce at trial all the evidence they submitted in connection with
  those motions. Nor would they likely address “general publicity efforts” at trial. But there are
  certainly particular pieces of evidence that may have involved Plaintiffs’ public-relations efforts,
  but are relevant to other issues in the case.
           For example, as discussed in Defendants’ response to Plaintiffs’ Motion In Limine No. 4,
  Plaintiffs’ efforts to “shift the blame” from Servers.com to Webzilla in connection with the
  Methbot fraud is relevant to what role Plaintiffs actually played in that fraud. Similarly,
  evidence that Plaintiffs were aggressively pursuing their entry into the Russian market at the time
  the Democratic leadership was hacked is further circumstantial evidence of a motive to engage in
  the conduct alleged in the Dossier. And as a general matter, media interviews granted by
  Gubarev may be relevant for impeachment and other purposes. Indeed, Plaintiffs in their case
  rely heavily on media interviews granted by Ben Smith. See, e.g., Dkt. 234-1 (Pls.’ Opp. to
  Defs.’ Mot. for Summ. J.) at 17-18; Dkt. 237 (Joint Pretrial Stip.) Ex. A, Exs. C3-C5, C7.
           Evidence of Plaintiffs’ “publicity efforts” is also relevant to damages. Plaintiffs assert
  that their reputations were “unblemished” and “untarnished” when BuzzFeed published the
  Dossier, Ex. A (Compl.) ¶¶ 5, 22, and that they have suffered grievous reputational harm as a
  result of being associated by the Dossier with, among other things, online pornography traffic.
  But the evidence Plaintiffs now seek to exclude belies those claims. It reveals that Gubarev in
  fact voluntarily spent years working hard to promote himself as an outspoken, international
  advocate for the online pornography industry, and that his companies promoted their services
  (including their “liberal” hosting rules) to that industry. See Dkt. 212 (Defs.’ Mot. for Partial
  Summ. J.) at 1-3, 17; Dkt. 228 (Defs.’ Opp. to Pls’ Mot. for Partial Summ. J.) at 4-5; Dkt. 242
  (Defs.’ Opp. Pls.’ Sealing Mot.) at 8-9; Dkt. 244 (Defs.’ Reply in Supp. of Mot. for Partial


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  Summ. J.) at 6-8. Having worked so hard to raise their profile in the pornography industry,
  Plaintiffs may not now plausibly claim that their reputations were harmed when the Dossier
  connected them with it. Similarly, in the context of considering a PR response to the Methbot
  fraud, Plaintiffs admitted to their PR firm that Webzilla “had some ambivalent episodes in its
  history and has had some customers with doubtful reputation” see Ex. D, which also speaks
  directly to their pre-existing reputation.
           In short, Plaintiffs motion is both vague and likely sweeps in categories of evidence that
  are clearly admissible for multiple reasons in this case. It should therefore be denied.
                                                   CONCLUSION
           For all these reasons, Defendants ask that Plaintiffs’ Motion In Limine No. 3 be denied.


  Dated: November 13, 2018                     Respectfully submitted,

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                                      CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 13th day of November, 2018.



                                                  By: /s/ Adam Lazier
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